      Case 2:17-cv-00128-M-BR Document 1 Filed 07/19/17               Page 1 of 5 PageID 1




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


AMANDA OLESEN,                                    §
                                                  §
         Plaintiff,                               §
                                                  §
vs.                                               §
                                                  §          CIVIL ACTION NO.
PRIME HEALTHCARE                                  §
FOUNDATION, INC. d/b/a                            §          __________________________
PAMPA REGIONAL MEDICAL CENTER;                    §
and MARK S. HENDERSON, M.D.,                      §
                                                  §
         Defendants.                              §


                DEFENDANT PRIME HEALTHCARE FOUNDATION, INC.’S
                             NOTICE OF REMOVAL


         Pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446, Defendant Prime Healthcare

Foundation, Inc. (“Prime”) files this Notice of Removal (“Notice”), and removes this action from

the 223rd Judicial District Court of Gray County, Texas to the United States District Court for

the Northern District of Texas, Amarillo Division, on the following grounds:


                                I.      STATE COURT ACTION

         1.      Plaintiff Amanda Olesen (“Plaintiff”) filed her Original Petition solely against

Defendant Mark S. Henderson, M.D. (“Dr. Henderson”) on February 24, 2017 in the 223rd

Judicial District Court of Gray County, Texas. (Ex. B-1) On June 20, 2017, Plaintiff filed a First

Amended Petition adding Prime as a Defendant in the case. (Ex. B-9)

         2.      According to Plaintiff’s First Amended Petition, Plaintiff is a resident of Pampa,

Gray County, Texas. (Ex. B-9 at ¶ 2.02)



DEFENDANT PRIME HEALTHCARE
FOUNDATION, INC.’S NOTICE OF REMOVAL                                                         Page 1
   Case 2:17-cv-00128-M-BR Document 1 Filed 07/19/17                  Page 2 of 5 PageID 2




          3.   Dr. Henderson is a citizen of Lawton, Comanche County, Oklahoma.

          4.   Prime is a Delaware non-profit corporation with its principal place of business in

Ontario, California. (See Ex. B-9 at ¶ 2.04)

                       II.   REMOVAL TO THIS COURT IS PROPER

          5.   Jurisdiction. 28 U.S.C. § 1332 grants district courts original jurisdiction over

civil actions where (1) the matter is between citizens of different states and (2) the amount in

controversy exceeds $75,000, exclusive of interest and costs.          As set forth below, these

requirements are met here, and the Court has jurisdiction over this action.

          6.   Complete Diversity Exists. Removal to this Court is proper because complete

diversity exists between the parties. For diversity jurisdiction purposes, Plaintiff is a citizen of

Texas, Dr. Henderson is a citizen of Oklahoma, and Prime is a citizen of California. (See Ex. B-

9 at ¶ 2.04). None of the parties are citizens of the same state, and therefore, there is complete

diversity of citizenship. See 28 U.S.C. § 1332(a), (c). No other parties have been joined in this

action.

          7.   The Amount in Controversy Exceeds $75,000. The amount in controversy in

the State Court Action exceeds the sum or value of $75,000, exclusive of interests or costs. See

28 U.S.C. § 1332(a).

          8.   Plaintiff sued Dr. Henderson and Prime for negligence related to alleged

complications from a surgery on Plaintiff’s appendix. (See Ex. B-9)           Plaintiff claims she

developed a postoperative abscess, needed additional surgery, and spent seven (7) days in the

hospital as the result of Defendants’ conduct. (Ex. B-9 a t¶¶ 7.16-7.23) While Plaintiff failed to

plead the amount of damages sought as required by Texas Rule of Civil Procedure 42, she did




DEFENDANT PRIME HEALTHCARE
FOUNDATION, INC.’S NOTICE OF REMOVAL                                                         Page 2
   Case 2:17-cv-00128-M-BR Document 1 Filed 07/19/17                  Page 3 of 5 PageID 3




state that she has “suffered substantial injuries and the following damages, the value of which far

exceeds the minimum jurisdictional limits of this court:

               a.     Pain and Suffering past and future
               b.     Mental Anguish past and future
               c.     Physical Impairment past and future
               d.     Medical Charges past and future
               e.     Disfigurement past and future
               f.     Lost wages
               g.     Loss of earning capacity
               h.     Exemplary damages
               i.     Pre-judgment and Post-judgment interest
               j.     Court costs.”


(Ex. B-9 ¶ 10.32). Based on the nature of Plaintiff’s claims and the damages she seeks in her

First Amended Petition, it is facially evident that the amount in controversy exceeds $75,000.


                                III.   REMOVAL IS TIMELY

       9.      Service of the state court lawsuit was perfected on Prime on June 20, 2017.

Service of process was perfected on co-defendant Mark Henderson, M.D. on March 29, 2017.

(See Ex. B-8, B-12)

       10.     Accordingly, this Notice is timely filed within thirty (30) days of Prime’s receipt

of the First Amended Petition. See 28 U.S.C. § 1446(b)(1).

                              IV.      CONSENT TO REMOVAL

       11.     As indicated in the Certificate of Consent attached hereto as Exhibit A,

Defendant Mark D. Henderson, M.D. consents to the removal of this action to this Court.




DEFENDANT PRIME HEALTHCARE
FOUNDATION, INC.’S NOTICE OF REMOVAL                                                         Page 3
   Case 2:17-cv-00128-M-BR Document 1 Filed 07/19/17                  Page 4 of 5 PageID 4




                       V.      COMPLIANCE WITH LOCAL RULES

       12.     Pursuant to Local Rule 81.1(a)(4)(A), an index of all documents previously filed

in state court that clearly identifies each document, and also indicates the date each document

was filed is attached hereto as Exhibit B.

       13.     Pursuant to Local Rule 81.1(a)(4)(C), attached hereto as Exhibits B-1 to B-15 are

copies of each document filed in the state court action.

       14.     Pursuant to Local Rule 81.1(a)(4)(B), a copy of the docket sheet in the state court

action is attached hereto as Exhibit C.

       15.     Pursuant to Local Rule 81.1(a)(4)(D), attached hereto as Exhibit D is a signed

Certificate of Interested Persons on behalf of Prime Healthcare Foundation, Inc..

       16.     The filing fee of $400.00 has been paid to the Clerk along with this filing.

                                     VI.     CONCLUSION

       17.     Defendant Prime Healthcare Foundation, Inc. respectfully requests that this

proceeding be placed on the docket of the United States District Court for the Northern District

of Texas, Amarillo Division.




DEFENDANT PRIME HEALTHCARE
FOUNDATION, INC.’S NOTICE OF REMOVAL                                                          Page 4
   Case 2:17-cv-00128-M-BR Document 1 Filed 07/19/17            Page 5 of 5 PageID 5




                                             Respectfully submitted,



                                                     /s/ Rodney H. Lawson
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                                             Attorneys for Defendant Prime Healthcare
                                             Foundation, Inc. d/b/a Pampa Regional
                                             Medical Center


                                  Certificate of Service

The undersigned certifies that a copy of the foregoing instrument was served upon the
attorneys of record in the above cause in accordance with Federal Rule of Civil Procedure 5
via electronic service on this 19th day of July , 2017.

        Attorneys for Plaintiff
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                                                      /s/ Rodney H. Lawson
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DEFENDANT PRIME HEALTHCARE
FOUNDATION, INC.’S NOTICE OF REMOVAL                                                 Page 5
